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DONNA REDMON,
PLAINTIFF,

vs. Civil No. 04-2449BP

NORMAN MINETA, SECRETARY,
DEPARTMENT OF TRANSPORTATION

DEFENDANT .

 

ORDER ALLOWING ADDITIONAL TIME TO RESPOND TO DISCOVERY

 

Upon motion of the Defendant, it appears there is good cause for the Defendant to be
allowed additional time to respond to Plaintiff’ s discovery request
Therefore, Defendant is permitted an additional fifteen days from entry of this order to

either respond or object to Plaintiff‘s First Set of Interrogatories and Request for Production of

Documents. H<P/QV¥\

»J.-DanieL-Br-een~ "["p~.. M Pl,,_¢_~__
United States-Bis%&et-Court

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with Rule 58 and ’ 5
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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02449 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

